                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             CENTRAL DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                               No. CR07-3003-MWB
 vs.                                           ORDER ACCEPTING MAGISTRATE
                                                   JUDGE’S REPORT AND
 GERSON BENAVIDES,
                                               RECOMMENDATION REGARDING
               Defendant.                        DEFENDANT’S GUILTY PLEA
                                ____________________

                      I. INTRODUCTION AND BACKGROUND
       On January 24, 2007, an indictment was returned against defendant Gerson
Benavides, charging defendant with conspiracy to distribute 50 grams or more of
methamphetamine and 50 grams or more of pure methamphetamine, in violation of 21
U.S.C. §§ 841(a)(1), 841(b)(1)(A), 841(b)(1)(B), and 846, and distributing 5 grams or
more of pure methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B).
On October 19, 2007, defendant appeared before United States Magistrate Judge Paul A.
Zoss and entered a plea of guilty to Count 1 of the indictment. On this same date, Judge
Zoss filed a Report and Recommendation in which he recommends that defendant’s guilty
plea be accepted. No objections to Judge Zoss’s Report and Recommendation were filed.
The court, therefore, undertakes the necessary review of Judge Zoss’s recommendation to
accept defendant’s plea in this case.


                                        II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or


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              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Zoss’s findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Zoss’s Report and Recommendation of October 19,
2007, and accepts defendant’s plea of guilty in this case to Count 1 of the indictment.
       IT IS SO ORDERED.
       DATED this 5th day of November, 2007.


                                                 __________________________________
                                                 MARK W. BENNETT
                                                 U. S. DISTRICT COURT JUDGE
                                                 NORTHERN DISTRICT OF IOWA




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